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                  UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA

DEMOCRATIC EXECUTIVE
COMMITTEE OF FLORIDA,
and BILL NELSON FOR U.S.
SENATE,
                    Plaintiffs,            Case No. 4:18-CV-520 (RH)
              v.
KEN DETZNER, in his official
capacity as Secretary of State of
the State of Florida,
                    Defendant.

                    DECLARATION OF DANIELA FERRO
           IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
                              INJUNCTION

Pursuant to 28 U.S.C. § 1746, I, DANIELA FERRO, declare as follows:

      1.     I am at least 18 years of age and have personal knowledge of the below

facts which are true and accurate to the best of my knowledge.

      2.     I am a resident of and registered voter in the State of Florida and have

been a registered voter since December 2007.

      3.     Beginning in or around 2016, I began voting-by-mail, because it

seemed convenient given my busy schedule as a young attorney and litigation

associate in a law firm. Prior to 2016, I had voted in person.

      4.     I typically vote during presidential election years and do not typically

vote during midterm elections. To the best of my recollection, this is the first year

that I have voted in a midterm election.
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      5.     Recent current and political events made me feel strongly about

participating in this 2018 midterm election, and I was excited to vote by mail and

have my voice heard.

      6.     On or around October 22, 2018, after receiving my vote-by-mail ballot,

I thoughtfully cast my vote and sent it back to the Miami-Dade Supervisor of

Elections.

      7.     By letter dated October 29, 2018, which I did not receive until after the

November 6, 2018 election had occurred, I received a form notice from the Miami-

Dade Supervisor of Elections, Christina White, that advised, in relevant part, as

follows:

             During the initial review of your vote-by-mail ballot for
             the [November 6, 2018] election, it was determined that
             the signature on the Voter’s Certificate did not match the
             signature on record with the Elections Department. As a
             result, your vote-by-mail ballot will be submitted to the
             Miami-Dade County Canvassing Board for further review.

             Florida allows voters the opportunity to submit an
             affidavit to remedy the issue with their vote-by-mail
             ballot. A Cure Affidavit must be completed and submitted
             by 5 p.m. on the day before the election to provide an
             alternative method for your signature to be verified.
             Enclosed for your review are the instructions on how to
             complete the affidavit.

      8.     When I first saw this notice, on or around Thursday, November 8, 2018,

two days after the election and three days after the deadline to submit a Cure

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Affidavit, I called the Miami-Dade Board of Elections to ask if there was anything I

could do to ensure my vote would be counted.

      9.     The person who answered the phone said something about my signature

on my 2014 voter registration form looking different than the signature on my vote-

by-mail ballot. I told her that I was registered before 2014, and that I was confused,

but, upon information and belief, she may have been referring to the form I submitted

to change my address on my voter registration in or around 2014.

      10.    My prior address was also in Miami-Dade County.

      11.    I voted by mail in 2016, and I did not receive any notice regarding my

vote-by-mail ballot in that election, however, hearing that my November 2018 vote-

by-mail ballot was rejected gave me concerns that my 2016 ballot may also have

been rejected.

      12.    When I spoke to the representative from the Miami-Dade County

Board of Elections Office and explained that I did not receive the notice about my

ballot until after the election and cure deadline, she told me that this also happened

to many Miami-Dade County voters in this election. She advised that it was too late

for me to do anything about my ballot being rejected.

      13.    I am upset and frustrated that my vote was not counted despite taking

steps to vote and ensure that my ballot was mailed well in advance of the vote-by-

mail deadline.
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